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Articles of Organization

of

Cooper Square Ventures LLC

(Under Section 203 of the Limited Liability Company Law)

HUBCO #29
DRAWDOWN

Filer:

Michael Dardashtian
28 St. Marks Place Apt. G
New York, NY 10003
FIRST:

SECOND:

THIRD:

FOURTH:

FIFTH:

SIXTH:

SEVENTH:

EIGHTH:

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Atcticles of Organization
of

Cooper Square Ventures LLC
Under Section 203 of the Limited Liability Company Law

The name of the limited liability company is:
Cooper Square Ventures LLC

The county within this state in which the office of the limited liability company is to be
located is:

QUEENS

(Optional) The latest date on which the limited liability company is to dissolve is:

The Secretary of State is designated as agent of the limited liability company upon whom
process against it may be served. The post office address within or without this state to
which the Secretary of State shall mail a copy of any process against the limited liability
company served upon him or her is:

Cooper Square Ventures LLC
106-16 Jamaica Avenue
Queens, NY 11418

(Optional) The name and street address within this state of the registered agent of the
limited liability company upon whom and at which process against the limited liability

company can be served is:

Michael Dardashtian
106-16 Jamaica Avenue
Queens, NY 11418
The effective date of the Articles of Organization is:
The limited liability company is to be managed by (check appropriate box):
[V Jone or more members [ | One or more managers
[la class or classes of members [_]a class or classes of managers

Other Provisions:

IN WITNESS WHEREOF, this certificate has been subscribed on Aug ust 4 201 1
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by the undersigned who affirms that the statements made herein are true under the penalties
of perjury.

[S/ Michael Dardashtian [S/ David Gitman

 

Michael Dardashtian -Organizer David Gitman -Organizer
